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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on January 8, 2021

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 21-MJ-266

WILLIAM ROBERT NORWOOD III, : VIOLATIONS:
also known as “Robbie Norwood,” : 18U.S.C. §§ 1512(c)(2), 2
: (Obstruction of an Official Proceeding)
Defendant. : 18U.S.C. § 641

: (Theft of Government Property)
18 U.S.C. § 1752(a)(1)
(Entering and Remaining in a Restricted

: Building or Grounds)

:  180U.S.C. § 1752(a)(2)

: (Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)
40 U.S.C. § 5104(e)(2)(C)
(Entering and Remaining in Certain
Rooms in the Capitol Building)
40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct in
a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT

 

The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, WILLIAM
ROBERT NORWOOD III, also known as “Robbie Norwood,” attempted to, and did, corruptly

obstruct, influence, and impede an official proceeding, that is, a proceeding before Congress, by
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entering and remaining in the United States Capitol without authority and committing an act of
civil disorder and engaging in disorderly and disruptive conduct.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT TWO
On or about January 6, 2021, within the District of Columbia, WILLIAM ROBERT
NORWOOD III, also known as “Robbie Norwood,” did embezzle, steal, purloin, knowingly
convert to his use and the use of another, and without authority, sold, conveyed and disposed of
any record, voucher, money and thing of value of the United States and any department and agency
thereof, that is, a body armor vest and helmet belonging to the United States Capitol Police, which
has a value of more than $1,000.

(Theft of Government Property, in violation of Title 18, United States Code, Section
641)

COUNT THREE
On or about January 6, 2021, within the District of Columbia, WILLIAM ROBERT
NORWOOD III, also known as “Robbie Norwood,” did unlawfully and knowingly enter and
remain in a restricted building and grounds, that is, any posted, cordoned-off, and otherwise
restricted area within the United States Capitol and its grounds, where the Vice President and Vice
President-elect were temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FOUR
On or about January 6, 2021, within the District of Columbia, WILLIAM ROBERT
NORWOOD III, also known as “Robbie Norwood,” did knowingly, and with intent to impede

and disrupt the orderly conduct of Government business and official functions, engage in
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disorderly and disruptive conduct in and within such proximity to, a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President and Vice President-elect were temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE
On or about January 6, 2021, within the District of Columbia, WILLIAM ROBERT
NORWOOD IIL, also known as “Robbie Norwood,” willfully and knowingly, and with the intent
to disrupt the orderly conduct of official business, entered and remained in a room in any of the
Capitol Buildings set aside and designated for the use of either House of Congress and a Member,
committee, officer, and employee of Congress, and either House of Congress, and the Library of
Congress, without authorization to do so.

(Entering and Remaining in Certain Rooms in the Capitol Building, in violation of
Title 40, United States Code, Section 5104(e)(2)(C))

‘COUNT SIX
On or about January 6, 2021, within the District of Columbia, WILLIAM ROBERT
NORWOOD III, also known as “Robbie Norwood,” willfully and knowingly engaged in
disorderly and disruptive conduct within the United States Capitol Grounds and in any of the
Capitol Buildings with the intent to impede, disrupt, and disturb the orderly conduct of a session
of Congress and either House of Congress, and the orderly conduct in that building of a hearing
before or any deliberation of, a committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
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COUNT SEVEN
On or about January 6, 2021, within the District of Columbia, WILLIAM ROBERT
NORWOOD III, also known as “Robbie Norwood,” willfully and knowingly paraded,
demonstrated, and picketed in any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
